          Case 2:15-cv-01928-LDG-CWH Document 6-5 Filed 10/09/15 Page 1 of 1




                           CERTIFICATE OF SERVICE VIA OVERNIGHT MAIL
 2
 3          I hereby certify that on October 9,2015, I mailed a copy of the following documents:

                   MOTION FOR PRELIMINARY INJUNCTION AND MEMORANDUM IN
 5                 SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION

 6                 DECLARATION OF ANDREW KAHN IN SUPPORT OF MOTION FOR
 7                 PRELIMINARY INJUNCTION

 8                 DECLARATION OF MARK CHAPAfflAN IN SUPPORT OF MOTION FOR
                   PRELIMINARY INJUNCTION
 9
10                 DECLARATION OF MELISSA JOHANNING IN SUPPORT OF MOTION FOR
                   PRELIMINARY INJUNCTION
11
                   DECLARATION OF JOHN FAULIS IN SUPPORT OF MOTION FOR
12
                   PRELIMINARY INJUNCTION
13
14   to the parties listed below:

15     Liesl Freedman, General Counsel                      Adam Paul Laxalt, Attorney General
       400 S. Martin Luther King Boulevard                  100 North Carson Street
16     Las Vegas, Nevada 89106                              Carson City, NV 89701
17
             I declare under penalty of perjury under the laws of the State of Nevada that the foregoing is
18
     true and correct. Executed on this 9th day of October, 2015.
19
20                                                              Is/Joy Medalle-Alferos
21                                                              Joy Medalle-Alferos
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